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1                             UNITED STATES DISTRICT COURT

2                                     DISTRICT OF NEVADA

3                                                ***

4     MARCELL WILLIAMS,                                  Case No. 3:24-CV-00022-ART-CLB
5                                        Plaintiff,       ORDER GRANTING MOTION TO
                                                                EXTEND TIME
6            v.
                                                                     [ECF No. 16]
7     ELY STATE PRISON, et al.,
8                                    Defendants.
9

10          Currently pending before the Court is Plaintiff’s motion to extend time. (ECF No.
11   16.) Plaintiff seeks a seven-day extension of time to file a reply to his motion for a
12   preliminary injunction and/or temporary restraining order, (ECF Nos. 5, 6). (Id.) The Court
13   finds good cause exists to grant this extension of time. The deadline for Plaintiff to file a
14   reply to his motion for preliminary injunction and/or temporary restraining order, (ECF
15   Nos. 5, 6), is now due on July 5, 2024.
16          IT IS SO ORDERED.
17          DATED: ______________.
                    June 28, 2024
18                                              UNITED STATES MAGISTRATE JUDGE
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